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                                 UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF TEXAS
                                        AUSTIN DiVISION
                                                                                       Lj
EMILY GILBY; TEXAS DEMOCRATIC                                 Civil Action
PARTY; DSCC; DCCC,                                                                     J
                                                              Case No. 1:19-cv-01063
                            Plaintiffs,
          V.

                                                              FiRST AMENDED COMPLAINT
RUTH HUGHS, in her official capacity as the                   FOR INJUNCTiVE AND
Texas Secretary of State,                                     DECLARATORY RELIEF

                            Defendant.
                                                              First, Fourteenth, and Twenty-Sixth
                                                              Amendments to the United States
                                                              Constitution



          Plaintiffs, EMILY GILBY, TEXAS DEMOCRATIC PARTY ("TDP"), DSCC, and

    DCCC, by and through their undersigned counsel, file this COMPLAINT for DECLARATORY

    and iNJUNCTIVE RELIEF against Defendant RUTH HUGHS, in her official capacity as the

    Texas Secretary of State (the "Secretary"), and allege as follows:

                                          NATURE OF THE CASE

          1.         This litigation concerns changes to Texas's Election Code enacted by recently

passed House Bill 1888. Among other things, House Bill 1888, which went into effect on

September      1,   2019, amended Section 85.064 of Texas's Election Code to provide that early voting

at any polling place in Texas must be available on the same weekdays as at the main early voting

polling place for each county, and that any early voting polling place must remain open for at least

eight hours each weekday it is        open.1   HB 1888 effectively bans "temporary" or "mobile" early



1
 Plaintiffs refer throughout this complaint to Section 85.064 of the Texas Election Code, as
amended by House Bill 1888, as "HB 1888."

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voting, which afforded county officials the discretion to open early voting locations with flexible

hours and days, giving them the chance to bring early voting opportunities to as many voters as

possible, including thousands of young Texans living on or near college or university campuses

and without reliable access to transportation. Plaintiffs challenge these changes, which have

already led and, if not enjoined, will continue to lead to substantially fewer early voting

opportunities for young voters, as unconstitutional under the First, Fourteenth, and Twenty-Sixth

Amendments.

        2.     Texas has long had problems with voter turnout. The state, for example, ranked last

among all states for turnout in the 2014 midterm elections. Fernando Ramirez, Voter Turnout in

Texas is Dead Last in America,           Study Finds, Houston Chronicle (Sept. 19, 2018),

https://www.houstonchronicle.comlnews/houston-texas/texas/article/Voter-turnout-in-Texas-js-

dead-last-in-America- 13241845 .php. The state's consistently low turnout is attributable in part to

its restrictive voting laws, which include an early registration deadline, a lack of online voter

registration, and a restrictive photo identification law. Elbert Wang, Texas Saw the Nation 's Sixth-

Highest Voter Turnout Increase, But Still Lagged Behind Most Other States, Texas Tribune (Dec.

7,   2018), https://www.texastribune.org/20 18/12/07/texas-voter-turnout-sixth-highest-increase-

20 18-midterms!. Since the Supreme Court's decision in Shelby County       v.   Holder, 570 U.S. 529

(2013), did away with preclearance under Section 5 of the Voting Rights Act, Texas has also closed

more polling places than any state previously subject to preclearance, further depressitig turnout.

See Leadership Conference Education Fund, Democracy Diverted: Polling Place Closures and the

Right to Vote (Sept. 2019), http://civilrightsdocs.info/pdf/reports/Democracy-Diverted.pdf.

        3.     Turnout in Texas improved dramatically in the 2018 midterm elections, however,

largely thanks to the increased availability and use of early voting. That year, turnout increased by



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18 percentage points compared with the previous midterms, which was the          nation's sixth-highest

increase. Wang, supra. Early voting played a significant role in this increase, accounting for over

70 percent of the total turnout in Texas. Id. In fact, the number of Texans who voted early in 2018

alone surpassed total turnout overall in the 2014 election. Id.

          4.        One particular bright spot in the 2018 midterm elections was the significant use of

early voting, and particularly temporary early voting, by young voters in Texas. Youth early voting

rates rose by a whopping 508 percent statewide as compared with 2014. See Ana Orsini, Voter

Turnout        of   Young   Adults    Up   500   Percent in     Texas,   KCBD      (Nov.   2,   2018),

https://www.kcbd.com/20 18/1 1/03/voter-turnout-young-adults-up-percent-texas!. These included

young voters at college campuses statewide making substantial use of temporary early voting

locations offered on campus.

          5.        HB 1888, which was passed on a largely party-line vote and signed into law by

Governor Abbott on June 14, 2019, went into effect on September 1, 2019, and effectively bans

temporary early voting by requiring that every early voting location operate for eight hours each

weekday and stay open for the same number of weekdays as the main early voting location in the

county.

          6.        Counties throughout Texas do not have the financial resources to turn all of the

locations where they offered temporary early voting into permanent early voting locations. As a

result, several counties are offering significantly fewer early voting locations in the 2019 off-year

elections than they did previously, and have indicated that they will also be forced to offer

significantly reduced early voting opportunities in the upcoming 2020 elections. Many of the

locations where early voting will no longer be available are on or near college campuses, and the

impact of this reduction in early voting locations will almost certainly fall disproportipnately on



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young voters, who already suffer from limited automobile access compared to the general

population. HB 1888 will make it more difficult, and in some cases impossible, for young voters

throughout the state to exercise the franchise.

       7.      In Tarrant County, for example, there will likely be no early voting locations on the

campuses of the University of Texas at Arlington or at Texas Christian University in 2020, where

temporary early voting locations previously existed. Bud Kennedy, 11,000 College Votes Turned

Tarrant County Purple in 2018. Now Campus Voting May End, Fort Worth Star Telegram (Sept.

28, 2019), https://amp.star-telegram.com/news/politics-govemment/article235 524697.html.

        8.     Austin Community College, which has self-funded all nine of its on-campus

temporary early voting locations for years as a way of enshrining civic engagement as a part of its

curriculum, is also likely to lose some if not all of its early voting locations. Michael Wines, The

Student Vote is Surging. So Are Efforts to Suppress It., The New York Times (Oct. 24, 2019),

https ://www.nytimes.comI2O 19/1 0/24/us/voting-college-suppression.html.

        9.     At least six other on-campus early voting locations at colleges in Fort Worth, and

two more in Brownsville, are also at risk. Id.

        10.    Tens of thousands of young Texans have relied on these jeopardized on-campus

early voting locations when casting their ballots in years past, including students who have limited

access to transportation, first-time voters unsure of the process, and students who have jampacked

and otherwise inflexible class and work schedules.

        11.    Plaintiffs Emily Gilby, TDP, DCCC and DSCC, bring this lawsuit to protect their

rights and the rights of their members and constituencies to equal opportunities and access to the

franchise.




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        12.      HB 1888 discriminatorily limits equal access to early voting for a significant

section of the Texas electorate. HB 1888 makes it more difficult, and in some cases impossible,

for hundreds of thousands of Texas voters to participate in early voting in the communities in

which they live and work, in violation of the First and Fourteenth Amendments. In addition, HB

1888 violates the Twenty-Sixth Amendment, which explicitly protects young voters against such

restrictions on the franchise and guarantees them a substantive right to participate equally with

other qualified voters in the electoral process.

                                  JURISDICTION AND VENUE

        13.      Plaintiffs sue under 42 U.S.C.    §   1983 and 1988 to redress the deprivation under

color of state law of rights secured by the United States Constitution.

        14.      This Court has original jurisdiction over the subject of this action under 28 U.s.c.

§ § 1331   and 1343 because the matters in controversy arise under the Constitution and laws of the

United States.

        15.      This court has personal jurisdiction over the Secretary, who is sued in her official

capacity only.

        16.      Venue is proper in this Court under 28 U.S.C.    §   139 1(b) because a substantial part

of the events that caused Plaintiffs' claims occurred in this judicial district.

        17.      This Court has the authority to enter a declaratory judgment and to provide

injunctive relief under Rules 57 and 65 of the Federal Rules of Civil Procedure and 28 U.S.C.         §

2201 and 2202.

                                              PARTIES

           18.   Plaintiff Emily Gilby is a resident of, and registered voter in, Williamson County,

Texas. She is 22 years old and a junior at Southwestern University, where she also serves as the
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current President of the Southwestern University College Democrats. In the November 2018

general election, which was the first time that Ms. Gilby voted in Texas, she cast her ballot at the

temporary early voting location in Southwestern University's campus gym. Like Ms. Gilby, about

half of all Southwestern University students cast their ballots at Southwestern University's on

campus, temporary early voting location. Ms. Gilby's busy schedule is likely to make it difficult

and burdensome to vote on Election Day, so she hopes to be able to vote early and on campus

during the 2020 General election, like she did in November 2018. Unless HB 1888 is enjoined,

Southwestern University will be unable to host a temporary early voting location, making it far

more difficult for Ms.   Gilbyor     the roughly 50% of her classmates that also voted at the

Southwestern University temporary early voting location in     2018to cast her ballot.   Thus, as a

direct result of HB 1888's prohibition on temporary early voting locations, Ms. Gilby's right to

vote will be burdened, both because she is being denied an equal opportunity to participate in early

voting as compared to voters who do not live on or in close proximity to Southwestern University's

campus, and because, upon information and belief, HB 1888 was passed with the intent to make it

difficult for young voters, such as Ms. Gilby, to access early voting in Texas.

        19.    Plaintiff TDP is the statewide organization representing Democratic candidates and

voters throughout the State of Texas within the meaning of Section 117 of Texas's Election Code

and all other applicable provisions of the election laws. TDP's purpose is to elect Democratic Party

candidates to public office throughout Texas. To accomplish its purpose, TDP engages in vitally

important activities, including supporting Democratic Party candidates in national, state, and local

elections through fundraising and organizing efforts; protecting the legal rights of voters; and

ensuring that all voters have a meaningful ability to cast ballots in Texas. TDP has millions of

members and constituents from across Texas, including millions of Texans who are registered with



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the Texas Department of State's Division of Elections as Democrats, and many other Texans who

regularly support and vote for candidates affiliated with the Democratic Party.

       20.     Plaintiff DSCC is the national senatorial committee of the Democratic Party, as

defined by 52 U.S.C.   §   30101(14), and its mission is to elect candidates of the Democratic Party

to the United States Senate, including in Texas. DSCC works to accomplish its mission across the

country and in Texas by, among other things, making expenditures for, and contributions to,

Democratic candidates for U.S. Senate and assisting state parties throughout the country, including

in Texas. A top priority for DSCC is to engage young, Democratic voters and to foster in those

voters a lifelong sense of civic engagement. In 2018, DSCC made contributions and expenditures

in the tens of millions of dollars to persuade and mobilize voters to support Democratic Senate

candidates.

       21.     In 2020, DSCC expects to invest millions in support of the Democratic candidate

selected as the nominee to run against Republican Senator John Coryn. HB 1888 directly harms

DSCC by frustrating its mission of, and efforts in, electing the Democratic Party candidate to the

U.S. Senate in Texas by suppressing the access of young voters, who tend to support Democratic

Senatorial candidates, to the franchise. DSCC is aware of HB 1888 and will have to expend and

divert additional funds and resources on GOTV, voter persuasion efforts, and other activities in

Texas, at the expense of its efforts in other states, in order to combat the effects of HB 1888 in

getting out the vote among Texas's young voters.

       22.     Plaintiff DCCC is the national congressional committee of the Democratic Party,

as defined by 52 U.S.C. § 30101(14). DCCC's mission is electing Democratic candidates to the

U.S. House of Representatives from congressional districts across the United States, including

from Texas's 36 congressional districts. DCCC works to accomplish its mission across the country



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and in Texas by, among other things, making expenditures for, and contributions to, Democratic

candidates for U.S. Congress and assisting state parties throughout the country, including in Texas.

A top priority for DCCC is to engage young, Democratic voters and to foster in those voters a

lifelong sense of civic engagement. In 2018, DCCC made contributions and expenditures in the

tens of millions of dollars to persuade and mobilize voters to support Democratic congressional

candidatesseveral million dollars of which were spent for those purposes in Texas.

       23.      For 2020, DCCC has identified at least eight congressional districts in Texas

(Congressional Districts 7, 10, 21, 22, 23, 24, 31, and 32) as targeted races, in which it will expend

resources to support the Democratic candidate. Overall, in 2020, DCCC expects to make

contributions and expenditures in the millions of dollars to persuade and mobilize voters to support

Democratic candidates in congressional elections around the country, including in Texas. HB 1888

directly harms DCCC by frustrating its mission of, and efforts in, electing Democratic Party

candidates to the U.S. Congress in Texas by suppressing the access of young voters, who tend to

tend to support Democratic Congressional candidates, to the franchise. DCCC is aware of HB 1888

and will have to expend and divert additional funds and resources on GOTV, voter persuasion

efforts, and other activities in Texas, at the expense of its efforts in other states, in order to combat

the effects of HB 1888 in getting out the vote among Texas's young voters.

       24.      Defendant RUTH HUGHS (the "Secretary") is sued in her official capacity as the

Secretary of State of Texas. The Secretary is a person within the meaning of 42 U.S.C.       §   1983 and

acts under color of state law in her official capacity. The Secretary's official responsibilities

include serving as the Chief Election Officer for Texas, assisting county election officials and

ensuring the uniform application and interpretation of election laws throughout Texas.           See   Tex.
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Elec. Code § 31.001(a). As the head of the Elections Division of her office, the Secretary is charged

with administering the Texas Election Code.

                             STATEMENT OF FACTS AND LAW

    A. Young Voters And Early Voting

        25.    Readily accessible early voting is critical for young voters. These voters are less

likely than members of the general public to have easy and immediate access to reliable

transportation, while having demanding and inflexible school and work schedules. Indeed, the

percentage of 20 to 24-year-olds possessing driver's licenses has steadily decreased over the last

35 years, Michael Sivak & Brandon Schoettle, Recent Decreases in the Proportion ofPersons with

a      Driver's       License        Across       All       Age       Groups        (Jan.       2016),

http://www.umich.edu1LumtriswtJPDF/UMTRI20 1 6-4.pdf ("[T]here was a continuous decrease

in the percentage of persons with a driver's license for the years examined. For example, the

percentages for 20- to 24-year-olds in 1983, 2008, 2011, and 2014 were 91.8%, 82.0%, 79.7%,

and 76.7%, respectively."), while the percentage for other age groups has remained significantly

higher, id. ("[T]he percentages for 60- to 64-year-olds in 1983, 2008, 2011, and 2014 were 83.8%,

95.9%, 92.7%, and 92.1%, respectively."). Those young voters who do have driver's licenses often

do not own vehicles, or the vehicles that they own are not easily accessible or reliable. Thus, young

voters often must rely on public transportation or arrangements largely dictated by others to access

early voting sites, making the distance to the nearest early voting site a particularly critical factor

for equal access for this demographic.

        26.     Younger voters (particularly first-time voters) also face information costs and are

less likely to know where to vote, how Texas's voting process works, and the voting processes and

facilities in their geographical area. Without the flexibility that temporary early voting on campus
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or near to campus provides, many young voters would likely find it highly difficultand,

sometimes,   impossibleto make it to the polls to cast their ballots.
       27.      Limitations on accessible early voting also correlate with significantly longer lines

and wait times for the voters able to make it to the polls. Young voters in Texas already often face

long lines and wait times due to large populations of registered voters at their precincts, due in part

to rampant polling place closures throughout Texas since Shelby County, see supra at ¶ 2, and due

to the information deficits they face, which cause them to need more time to fill out ballots and

navigate the voting process. When faced with a long line, some voters will be forced to forego

voting, meaning these added burdens are likely to discourage many from attempting to vote. This

is particularly true of young voters, who are more likely to be first time voters and thus more likely

to be discouraged by these, and other, barriers to entry. See Eric Plutzer, Becoming a Habitual

Voter: Inertia, Resources, and Growth in YoungAdulthood, 96 Am. Pol. Sci. Rev. 41,41-56(2002)

(noting that voter turnout rates increase with age due, in part, to a reduction in barriers to entry

once voting becomes a habit and gains "inertia").

   B. Temporary Early Voting Locations and Results Prior to HB 1888

       28.     Prior to HB 1888, Texas administrators increasingly employed temporary early

voting as an efficient, cost-effective way to reach populations, such as young voters, with particular

transportation difficulties, and these efforts borne significant fruit. In Travis County, for example,

more than 28,000 people voted at these sites in 2018, or nearly 6 percent of all the votes cast in

Travis County. Michael Barajas, The Death of Mo bile Polling Places Could Shrink Early Voting

in Texas, Texas Observer (Aug. 30, 2019), https ://www.texasobserver.org/the-death-of-mobile-

polling-places-could-shrink-early-voting-in-texas!. Indeed, Dana DeBeauvoir, Travis County




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clerk and chief elections official, called temporary voting sites dollar-for-dollar "the most effective

program we had." Wines, supra.

          29.         Young voters were among the populations best and most effectively served by

temporary early voting locations. At Southwestern University in Georgetown, Texas, for example,

more than half of the student population voted at the temporary voting site set up on campus.

Wines,    supra.      And this was far from an anomaly. In Tarrant County, 11,000 voters voted at

temporary early voting locations on campus in 2018. Kennedy, supra. Likewise, Cameron County

opened three voting sites on college campuses in 2018, where 2,800 votes were cast. Wines, supra.

These voters helped Texas's youth early voting in 2018 rise by 508 percent statewide as compared

with 2014.      See   Orsini, supra.

          30.         The results of this surge in Texas youth turnout in the November 2018 election are

self-evident. Texas's young voters overwhelmingly supported the state's first competitive

Democratic United States Senate candidate in          decades.2   Democrats, aided by the surge in youth

turnout, also picked up two seats in Texas's congressional delegation, 12 seats in the Texas House,

defeated two incumbent Republicans in the Texas Senate, and flipped the majorities of four Texas

appellate courts.

C. The Passage of HB 1888 and Its Harm
         31.          Following Democratic electoral success and the surge in youth turnout, Republican

State Representative Greg Bonnen introduced HB 1888 on February 15, 2019. See Bill History:




2
    In 2018, the Democratic candidate for U.S. Senate lost to the Republican incumbent ly a margin
of only 2.5 6%, the narrowest margin in forty years. The margins of victory for prioit senatorial
elections were as follows: 27.2% (2014), 15.9% (2012), 12% (2008), 26.7% (2006), 12% (2002),
32.7% (2000), 11% (1996), and 22.5% (1994).

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H.B.     1888,     Legis.    Sess.    86(R)     (Tex.    2019),     Texas     Legislature    Online,

https://capitol.texas.govlBillLookup/History.aspx?LegSess=86R&Bill=HB 1888.

        32.       The purported purpose of the bill, as articulated by Republican State Senator Joan

Hufthian on the Senate floor, was to stop the practice of using temporary voting locations for

electioneering, with Senator Huffrnan offering as an example local leaders placing temporary

voting locations at schools for school bond elections, seeking to influence the vote. Danielle

McLean, Lawmakers in Texas Just Concocted a New Way to Keep Democratic Voters From the

Ballot Box, ThinkProgess (May 23, 2019) https://thinkprogress.orgltexas-lawmakertexas-

lawmakers-keep-democratic-voters-from-ballot-box-7cac 1 6e8c5f6/.           State    Representative

Bonnen, too, offered this justification when he initially introduced the bill, again relying on the

example of school bond elections. Wines, supra.

        33.      Opponents, however, pointed out that the bill would do far more than merely limit

electioneering in school elections, including having many negative consequences. Chris Davis of

the Texas Association of Election Administrators testified against the bill before the Texas House

of Representatives Committee on Elections, noting that it would end many legitimate uses of

temporary early voting locations by members of the organization, including preventing the

placement of early voting locations in places where it would be critically important to have early

voting, but where it did not make fiscal sense to locate an early voting location for the entirety of

the two week early vote period. Texas House of Representatives, March 11, 2019 Testimony

Before the Committee on Elections, http://tichouse.granicus.com/MediaPlayer.php?view_id=

44&clip_id= 16486.

       34.       Seeking to address both concerns, Democratic representative John Bucy offered an

amendment to the bill on May 7, 2019, which was meant to allow for the limited use of temporary



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voting locations for primary and general elections for rural voters, nursing homes, and students at

institutions of higher education. 86 H. Journal, Reg. Sess., 3109-3110 (Tex. 2019). As

Representative Bucy described, his district "relies on mobile voting" and "{u]ses it for our most

rural areas and for our colleges and our senior citizen homes." Id. Hence, Representative Bucy

offered his amendment as "a compromise to make sure we're ensuring that those without vehicles

and other mobility access could still have easy access to the ballot," id., while still prohibiting the

use of temporary voting locations in local elections to address the purported concerns of the bill's

supporters.

        35.    Representative Bucy' s proposed amendment was tabled on May 7, 2019, id. at

3112, and then an amendment with the same language was finally defeated when Senator José

Rodriguez offered it again prior to a vote on the bill on May 21, 2019. 86 S. Journal, Reg. Sess.,

2405 (Tex. 2019). The bill subsequently passed on a largely party line vote, was signed into law

by Governor Abbott on June 14, 2019, and went into effect on September        1,   2019.

        36.     Upon information and belief, HB 1888 was passed for the purpose, at least in part,

of reducing access to early voting for young Texas voters who reside on and near Texas's college

and university campuses, many of which have hosted on-campus early voting sites, often at their

own expense,   see supra   at ¶ 8, and where tens of thousands of young voters have cast their ballots

in recent elections, see supra at ¶ 28. Despite the pretextual purposes offered by the bill's sponsors,

HB 1888's true purpose was to make access to the franchise more difficult, especially for young,

college and university student voters, in a direct attempt to suppress the historic youth early voting

turnout that Texas saw in 2018 and would otherwise likely see in 2020.

       37.     The bill has already produced, and will continue to produce, significant harm to

young voters absent action from this court. Already, counties have been forced to offer


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significantly fewer early voting locations in the 2019 off-year elections than they did in previous

off-year elections, and have indicated that they will also be forced to offer significantly reduced

early voting opportunities in the upcoming 2020 elections. In Travis County, for example, the

county had 77 total early voting sites in 2017, when the law was not in effect, with 23 full time

early voting sites and 54 locations where a mobile early voting site was located for at least one day

of the early voting period. See Early Voting Oct. 23 Nov. 3, The Austin Chronicle, October 20,

2017, https :!!www.austinchronicle.com!news/20 17-10-20/early-voting!.         In the 2019 election,

with the law in effect, the county has opened only 30 early voting locations in total. See Travis

County     Early     Voting   Locations   for   the   November     5,   2019       General       Election,

https:llcountyclerk.traviscountytx. gov!polling-locations.html (last visited Oct. 29, 2019). Further,

in Tarrant County, there will likely be no early voting locations on the campuses of the University

of Texas at Arlington or at Texas Christian University in 2020, where temporary early vote

locations previously existed. Kennedy, supra. Temporary early voting locations at Austin

Community College and at college locations in Fort Worth and Brownsville are also likely to be

closed for the upcoming 2020 election as a result of HB 1888. Wines, supra.

                                      CLAIMS FOR RELIEF

                                             COUNT I
                         Violation of First and Fourteenth Amendments:
                        Undue Burden on the Fundamental Right to Vote
               U.S. Const. amends. I, XIV; 42 U.S.C. § 1983; 28 U.S.C. § 2201, 2202

         38.      Plaintiffs reallege and incorporate by reference all previous and subsequent

paragraphs as though set forth herein.

         39.      As the Supreme Court has recognized, "{i]t is beyond cavil that voting is of the

most fundamental significance under our constitutional structure." Burdick        v.    Takushi, 504 U.S.

428, 433 (1992). Indeed, the right to vote is the "fundamental political right.   . .   preservative of all


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rights." Reynolds   v.   Sims, 377 U.S. 533, 562 (1964) (quoting Yick Wo v. Hopkins, 118 U.S. 356,

370 (1886)).

       40.     Under the First Amendment and the Equal Protection Clause of the Fourteenth

Amendment, a court considering a challenge to a state election law must carefully balance the

character and magnitude of injury to the First and Fourteenth Amendment rights that the plaintiff

seeks to vindicate against the justifications put forward by the State for the burdens imposed by

the rule. See Burdick, 504 U.S. at 434; Anderson    v.   Celebrezze, 460 U.S. 780, 789 (1983).

       41.     "However slight thEe] burden may appear,        . . .   it must be justified by relevant and

legitimate state interests sufficiently weighty to justify the limitation." Crawford       v.   Marion Cty.

Election Bd., 553 U.S. 181, 191 (2008) (Stevens, J., controlling op.) (internal quotation marks

omitted).

       42.     HB 1888 leaves young voters in this state with less access to the franchise, despite

the fact that their "information cost" to voting as inexperienced and often first-time voters is the

highest. This burden is significant: it will undo any progress Texas has made against its abysmal

youth turnout rates in 2018 by significantly diminishing the opportunities for young Texans to

readily participate in what, for many, will be the first election in which they are eligible to vote.

       43.     HB 1888 does not treat Texas voters equally regarding access to early voting. It

mandates an inequality, because it disproportionately reduces or eliminates access to the franchise

for Texas voters living or working on or near a college or university where on-campus temporary

voting is no longer available, and where so many temporary voting locations had been placed,

often at the college or university's own expense.

       44.     Texas has no legitimate interest, let alone a weighty interest, in maintaining HB

1888's prohibition on temporary early voting     locations if it        did, there was no reason to reject



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proposed carveouts for colleges and universities (or nursing homes, for that matter), which were

never cited as sites where the Legislature was concerned that school board bond electioneering

occurred.

       45.     Absent relief, Ms. Gilby, DSCC, DCCC, and TDP along with its members and

constituents, particularly its young members who live on and near college and university campuses

that previously hosted temporary early voting locations and have been banned from so doing under

HB 1888, will continue to be subjected to an unjustified burden on their right to participate in

Texas's elections.

                                        COUNT LI
                Violation of Fourteenth Amendment: Disparate Treatment
             U.S. Const. amend. XIV; 42 U.S.C. § 1983; 28 U.S.C. § 2201, 2202

       46.     Plaintiffs reallege and incorporate by reference all previous and subsequent

paragraphs as though set forth herein.

       47.     The Equal Protection Clause of the Fourteenth Amendment to the United States

Constitution prohibits states from "deny[ing] to any person within its jurisdiction the equal

protection of the laws." U.S. Const. amend. XIV,      § 1.   Put simply, "all persons similarly situated

should be treated alike." City of Cleburne v. Cleburne Living Ctr., 473 U.S. 432, 439 (1985).

       48.     Having adopted a system by which early voting is available, Texas may not "by

later arbitrary and disparate treatment, value one person's vote over that of another." Obama For

Am. v. Husted, 888 F. Supp. 2d 897, 910 (S.D. Ohio 2012), aff'd, 697 F.3d 423 (6th Cir. 2012);

Bush v. Gore, 531 U.S. 98, 104OS (2000) (holding Equal Protection Clause applies to "the manner

of [the] exercise [of voting]" and "once granted the right to vote on equal terms, the State may not,

by later arbitrary and disparate treatment, value one person's vote over that of another").




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       49.     All Texas voters are similarly situated and should have equal access to early voting,

which Texas law provides. Yet, under HB 1888, thousands of voters who were previously able to

rely on and vote at temporary voting sites are treated differently. HB 1888 now mandates that,

based on where they live, some voters will enjoy the same consistent access to early voting they

had previously, but voters who live near now defunct temporary voting sites, especially young

voters, will suffer reduced or eliminated access to the franchise. Because of HB 1888, many young,

including newly-registered, first-time Texas voters who live on or near college and university

campuses that once housed temporary voting locations will be denied an opportunity to equal

access to early voting compared with those who live near permanent early voting locations.

       50.     No legitimate state interest could justify HB 1888's burden, which creates arbitrary

distinctions among Texas voters based on where they live and, relatedly, based on their age.

       51.     Absent relief, Ms. Gilby, DSCC, DCCC, and TDP along with its members and

constituents, particularly its young members who live on and near college and university campuses

that previously hosted temporary early voting locations and have been prohibited from so doing

under HB 1888, will be denied an equal opportunity to participate in Texas's elections.

                                     COUNT HI
  Violation of Twenty-Sixth Amendment: Denial or Abridgement of the Right to Vote on
                                   Account of Age
           U.S. Const. amend. XXVI; 42 U.S.C. § 1983; 28 U.S.C. § 2201, 2202

       52.     Plaintiffs reallege and incorporate by reference all previous and subsequent

paragraphs as though set forth herein.

       53.     The Twenty-Sixth Amendment to the U.S. Constitution provides: "[t]he right of

citizens of the United States, who are eighteen years of age or older, to vote shall not be denied or

abridged by.. . any State on account of age." U.S. Const. amend. XXVI,        § 1.   Its goal "was not

merely to empower voting by our youths but was affirmatively to encourage their voting, through


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the elimination of unnecessary burdens and barriers, so that their vigor and idealism could be

brought within rather than remain outside lawfully constituted institutions." Worden               v.   Mercer

Cty. Rd.   of Elections, 294 A.2d 233, 243 (N.J. Sup. 1972). Thus, the Twenty-Sixth Amendment

nullifies "onerous procedural requirements which effectively handicap exercise of the

franchise.    . .   although the abstract right to vote may remain unrestricted." Jolicoeur v. Mihaly, 488

P.2d 1, 4 (Cal. 1971) (quoting Lane v. Wilson, 307 U.S. 268, 275 (1939)).

        54.          The Twenty-Sixth Amendment guarantees young, qualified voters a substantive

right to participate equally with other qualified voters in the electoral process. Election laws,

practices and procedures designed to deny or abridge the right to vote because of age are

unconstitutional. While the amendment "speaks only to age discrimination, it has.            . .   particular

relevance for the college youth who comprise approximately 50 per cent of all who were

enfranchised by this amendment." Waigren v. Howes, 482 F.2d 95, 101 (1st Cir. 1973) (citing 117

Cong. Rec. 5817, 5825).

        55.          In direct contravention of the Twenty-Sixth Amendment, Texas enacted HB 1888

with the intent and effect of preventing newly-enfranchised young Texans from effectively

exercising their right to vote.

        56.          And HB 1888 will have the intended effect. Tens of thousands of young voters in

Texas will face heightened burdens on their ability to cast their ballots in the 2020 General

Election, mitigating much if not all of the increase in youth engagement that occurred in 2018,

where young voters overwhelmingly chose to cast their ballots early, particularly at on-campus

temporary voting locations.

        57.          Absent relief, Ms. Gilby, DSCC, DCCC, and TDP along with its members and

constituents, particularly its young members who live on and near college and university campuses



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that previously hosted temporary early voting locations and have been banned from so doing under

HB 1888, will continue to suffer the effects of intentional and unconstitutional discrimination

because of age.

                                   PRAYER FOR RELIEF

WHEREFORE, Plaintiffs respectfully request this Court enter judgment:

       (a)    declaring, under the authority granted to this Court by 28 U.S.C. § 2201, that HB
              1888 violates the First, Fourteenth and Twenty-Sixth Amendments to the United
              States constitution;

       (b)    permanently enjoining the Secretary of State, her respective agents, officers,
              employees, and successors, and all persons acting in concert with each or any of
              them, from implementing, enforcing, or giving any effect to HB 1888 under the
              authority granted to this Court by Federal Rule of Civil Procedure 65(a) and 28
              U.S.C. § 2202;

       (c)    awarding Plaintiffs their costs, disbursements, and reasonable attorneys' fees
              incurred in bringing this action under 42 U.S.C. § 1988 and other applicable laws;
              and

       (d)    granting such other and further relief as the Court deems just and proper.

Dated: November 26, 2019.                     Respectfully submitted,

                                               Is! John it   Hardin
                                               John Hardin
                                               TX State Bar No. 24012784
                                               PERKINS COlE LLP
                                               500 N. Akard St., Suite 3300
                                               Dallas, TX 75201
                                               Telephone: (214) 965-7743
                                               Facsimile: (214) 965-7793
                                               JohnHardin@perkinscoie.com

                                               Marc B. Elias*
                                               John M. Geise*
                                               Alexi M. Velez*
                                               PERKINS COlE LLP
                                               700 Thirteenth St., N.W., Suite 600
                                               Washington, D.C. 20005-3960
                                               Telephone: (202) 654-6200
                                               Facsimile: (202) 654-9959

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                              melias@perkinscoie.com
                              jgeise@perkinscoie.com
                              avelez@perkinscoie.com

                              Kevin J. Hamilton*
                              PERKINS COlE LLP
                              1201 Third Avenue, Suite 4900
                              Seattle, WA 98101-3099
                              Telephone: (206) 359-8000
                              Facsimile: (206) 359-9000
                              khamilton@perkinscoie.com

                              Counselfor thePlaintffs

                              Chad W. Dunn
                              TX State Bar No. 24036507
                              Brazil & Dunn, LLP
                              4407 Bee Caves Road, Suite   ill
                              Austin, Texas 78746
                              Telephone: (512) 717-9822
                              Facsimile: (512) 515-9355
                              chad@brazilanddunn.com

                              Counsel for Plaintiff Texas Democratic Party
                              *Admitted Pro Hac Vice




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